                  Case 1:21-cr-00080-JLT-SKO Document 35 Filed 06/22/21 Page 1 of 1
                                      IN THE UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                 NO: 17-cr-00095-DAD-BAM; and
                                                           1:21-cr-00080-NONE-SKO
ALFREDO GARCIA JR.

                               Defendant.

                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
 Name of Detainee:      Alfredo Garcia Jr.
 Detained at            Fresno County Jail
 Detainee is:           a.)     ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint ☒ Petition
                                  charging detainee with: Violation of supervised release
                   or   b.)     ☐ a witness not otherwise available by ordinary process of the Court

 Detainee will:         a.)       ☒ return to the custody of detaining facility upon termination of proceedings
                   or   b.)       ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility

                Appearance is necessary on August 27, 2021 at 8:30 a.m. in the Eastern District of California.

                        Signature:                                /s/ Justin J. Gilio
                        Printed Name & Phone No:                  Justin J. Gilio (559/497-4000)
                        Attorney of Record for:                   United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee on August 27, 2021 at 8:30 a.m., and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
 Dated: June 22, 2021                                        /s/ Barbara A. McAuliffe
                                                             Honorable Barbara A. McAuliffe
                                                             U.S. MAGISTRATE JUDGE

Please provide the following, if known:
 AKA(s):                                                                                   ☒Male      ☐Female
 Booking or CDC #:       2013138                                                           DOB:       01/02/1994
 Facility Address:       1225 M Street, Fresno, CA                                         Race:
 Facility Phone:         559/600-8600                                                      FBI#:
 Currently

                                                   RETURN OF SERVICE
 Executed on:
                                                               (signature)
